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CaS€ 1-18-41665-€88 DOC 31 Filed 12/10/18 Entered 12/10/18 12203:55

 

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CaS€ 1-18-41665-€88 DOC 31 Filed 12/10/18 Entered 12/10/18 12203:55

 

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CaS€ 1-18-41665-€88 DOC 31 Filed 12/10/18 Entel’ed 12/10/18 12203:55

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CaS€ 1-18-41665-688 DOC 31 Filed 12/10/18 Entered 12/10/18 12203:55

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